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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ZAFTR INC.,                                      CIVIL ACTION
 Plaintiff,

 v.

 KEVIN JAMESON LAWRENCE, BVFR                     NO. 21-2177
 & ASSOCIATES, LLC, JOHN KIRK,
 AND KIRK LAW PLLC,
 Defendants.

                                            ORDER

         AND NOW, this 20th day of January, 2022, upon consideration of: Plaintiff’s Motion for

Summary Judgment as to Count I (ECF Nos. 38, 53, and 54) and Defendants’ responses thereto

(ECF Nos. 45 & 49); the Lawrence Defendants’ Motion for Summary Judgment as to all

counts—except Count IX—as well as the Kirk Defendants’ crossclaim (ECF No. 40), Plaintiff’s

response thereto (ECF No. 47), and the Kirk Defendants’ response thereto (ECF 50); and, the

Kirk Defendants’ Motion for Summary Judgment as to all counts (ECF No. 41 & 56), and

Plaintiff’s response thereto (ECF 46), IT IS HEREBY ORDERED that Plaintiff’s Motion is

GRANTED IN PART AND DENIED IN PART; the Kirk Defendants’ Motion is GRANTED

IN PART AND DENIED IN PART; and the Lawrence Defendants’ Motion is GRANTED IN

PART AND DENIED IN PART as follows:

      1. Count I (breach of contract):

             a. With respect to breach of the ID Verification Agreement:

                     i. Plaintiff’s Motion is GRANTED with respect to BVFR and Lawrence;

                    ii. The Lawrence Defendants’ Motion is DENIED;

                    iii. The Kirk Defendants’ Motion is GRANTED.
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       b. With respect to breach involving the premature release of funds to third parties:

               i. Plaintiff’s Motion is GRANTED as it concerns the First Addendum

                  against Kirk Law but DENIED with respect to Kirk;

              ii. Plaintiff’s Motion is DENIED as it concerns the First Purchase and

                  Escrow Agreements with respect to the Kirk Defendants;

              iii. Plaintiff’s Motion is DENIED with respect to the Lawrence Defendants;

              iv. The Kirk Defendants’ Motion is DENIED;

              v. The Lawrence Defendants’ Motion is GRANTED.

       c. With respect to breach involving the failure to return funds from the August and

           October Tranches:

               i. Plaintiff’s Motion is DENIED;

              ii. Defendants’ Motions are DENIED.

2. With respect to Count II (breach of contract):

       a. Defendants’ Motions are DENIED.

3. With respect to Count III (unjust enrichment):

       a. Defendants’ Motions are GRANTED.

4. With respect to Count IV (conversion):

       a. Defendants’ Motions are GRANTED.

5. With respect to Count V (fraudulent misrepresentation and omission):

       a. Defendants’ Motions are GRANTED with respect to Plaintiff’s theory of

           omission.

       b. Defendants’ Motions are otherwise DENIED.

6. With respect to Count VI (negligent misrepresentation and nondisclosure):

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       a. Defendants’ Motions are GRANTED.

7. With respect to Count VII (civil conspiracy):

       a. Defendants’ Motions are DENIED.

8. With respect to Count IX (declaratory judgment):

       a. The Kirk Defendants’ Motion is GRANTED.

9. With respect to the Kirk Defendants’ Crossclaim:

       a. The Lawrence Defendants’ Motion is GRANTED with respect to the Kirk

           Defendants’ claim for indemnification.

       b. The Lawrence Defendants’ Motion is otherwise DENIED.

                                                   BY THE COURT:

                                                   /S/WENDY BEETLESTONE, J.

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                                                   WENDY BEETLESTONE, J.




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